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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Josue Alvarado
                                             Plaintiff,
v.                                                        Case No.: 1:18−cv−07756
                                                          Honorable Rebecca R. Pallmeyer
International Laser Products, Inc., et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 12, 2019:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Motion hearing held
on 2/12/2019. Plaintiff's motion to void releases, to bar contacts, for issuance or corrective
notice, and for sanctions [14] is entered and continued for briefing. Response to be filed
by noon on Friday, February 15, 2019. Hearing set for 2/15/2019 at 2:00 PM. Mailed
notice. (etv, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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